P 0470   (Rev. 0 /09) Order Sbheduling a Detention Hearing



                                           UNITED STATES DISTRICT COURT
                                                       for the
                                                             District of Alaska

         UNr"ED STAfTES OF AMERICA                                   )
                                                                     )         Case Number: 3:24-CR-00099-SLG-KFR
                                     vs.                             )
                                                                     )
                � ANOS ANASTASIOU                                    )
                             I
      ORDER bF TE�PORARY DETENTION AND SCHEDULING A DETENTION HEARING

A detention he, ring in this case is scheduled as follows.

  1
P ace:   US District Couh                                                Courtroom No.:     6
         Anchc rage, AlaJka
                                                                         Date and Time:     9/19/2024 1 :30:00 PM



         IT IS C RDEREJ!): Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any :)ther authbrized officer. The custodian must bring the defendant to the hearing at the time, date, and
pl Ice set forth above.
                                 I



Da e: 9/18/2024



                                                                               I            Judgt'ssigrwture



                                                                              Kyle F. Reardon, United States Magistrate Judge
                                                                                          Printed name and title




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